     Case 2:20-cv-02303-CBM-MAA Document 117-1 Filed 02/18/22 Page 1 of 29 Page ID
                                      #:2301



                         UNITED STATES DISTRICT COURT
 1
                        CENTRAL DISTRICT OF CALIFORNIA
 2

 3
        CHRIS HASHEM, Individually and      Case No. 2:20-cv-02303-CBM-
        on Behalf of All Others Similarly   MAA
 4      Situated,
 5
                                      PLAINTIFFS’ MEMORANDUM
               Plaintiff,             OF POINTS AND
 6                                    AUTHORITIES IN SUPPORT
 7             v.                     OF MOTION FOR
                                      PRELIMINARY APPROVAL
 8                                    OF CLASS ACTION
 9      NMC HEALTH PLC, PRASANTH SETTLEMENT WITH
        MANGHAT,          KHALIFA BIN DEFENDANT SHETTY
10      BHUTTI, PRASHANTH SHENOY,
11      H.J. MARK TOMPKINS, and B.R. Hon. Consuelo B. Marshall
        SHETTY,
12                                    CLASS ACTION
13             Defendants.

14

15

16

17

18

19

20

21

22

23

24

25

26

27
     Case 2:20-cv-02303-CBM-MAA Document 117-1 Filed 02/18/22 Page 2 of 29 Page ID
                                      #:2302



                                               TABLE OF CONTENTS
 1

 2                                                                                                               Page
 3    TABLE OF CONTENTS ................................................................................. i
 4    TABLE OF AUTHORITIES ......................................................................... iii
 5    STATEMENT OF ISSUES TO BE DECIDED ............................................. 1
 6     I.     INTRODUCTION ................................................................................ 2
 7     II.    SUMMARY OF THE LITIGATION AND SHETTY
 8            SETTLEMENT..................................................................................... 4
 9            A.       The Litigation ............................................................................. 4
10            B.       Settlement Discussions ............................................................... 4
11
              C.       The Settlement’s Terms ............................................................. 5
12
       III. PRELIMINARY APPROVAL OF THE SETTLEMENT IS
13          WARRANTED ..................................................................................... 6
14
              A.       Legal Standard ............................................................................ 6
15

16            B.       The Proposed Settlement Results From Serious, Informed, Non-
                       Collusive Negotiations ............................................................... 7
17
              C.       Each Churchill Factor Considered at This Stage
18
                       Supports Preliminarily Approving the Settlement ..................... 8
19
                       1.       The Strength of Plaintiffs’ Case, Risks of Further
20                              Litigation, and Risk of Maintaining Class Action Status
21                              Support Approval ............................................................. 8
22                     2.       The Settlement Recovers a Reasonable Proportion of
                                Damages ......................................................................... 10
23

24                     3.       Plaintiffs’ Investigation Allowed Them to Make an
                                Informed Decision.......................................................... 11
25

26
                       4.       Experienced Counsel Believe the Settlement is in the
                                Best Interests of the Settlement Class ............................ 11
27

                                                                   i
     Case 2:20-cv-02303-CBM-MAA Document 117-1 Filed 02/18/22 Page 3 of 29 Page ID
                                      #:2303



       IV. THE COURT SHOULD PRELIMINARILY APPROVE THE PROPOSED
 1
           PLAN OF ALLOCATION ...................................................................... 12
 2

 3
       V.    THE PROPOSED CLASS NOTICE SHOULD BE APPROVED .... 13

 4
       VI. THE COURT SHOULD CERTIFY THE CLASS FOR
           SETTLEMENT PURPOSES.............................................................. 16
 5

 6            A.      Numerosity ............................................................................... 17

 7            B.      Commonality ............................................................................ 17
 8
              C.      Typicality.................................................................................. 18
 9

10            D.      Adequacy .................................................................................. 19
11
              E.      Common Questions of Law Predominate and a Class Action is
12                    the Superior Method of Adjudication ...................................... 20
13     VIII. THE COURT SHOULD APPROVE LEAD COUNSEL’S
14           SELECTION OF CLAIMS ADMINISTRATOR .............................. 21
15
       IX.     CONCLUSION ................................................................................. 21
16

17

18

19

20

21

22

23

24

25

26

27

                                                                  ii
     Case 2:20-cv-02303-CBM-MAA Document 117-1 Filed 02/18/22 Page 4 of 29 Page ID
                                      #:2304



 1                                       TABLE OF AUTHORITIES
 2                                                                                                            Pages
 3    Cases
 4
      Betorina v. Randstad US, L.P.,
 5      No. 15-CV-03646-EMC, 2017 WL 1278758 (N.D. Cal. Apr. 6, 2017) ................8
 6
      Blackie v. Barrack,
 7      524 F.2d 891 (9th Cir. 1975) ......................................................................... 17, 18
 8
      Booth v. Strategic Realty Tr., Inc.,
 9     No. 13-CV-04921-JST, 2015 WL 3957746 (N.D. Cal. June 28, 2015)...... 3, 4, 16
10
      Ciuffitelli v. Deloitte & Touche LLP,
11      No. 3:16-CV-00580-AC, 2019 WL 1441634 (D. Or. Mar. 19, 2019) .................19
12
      Der-Hacopian v. Darktrace, Inc.,
13     No. 18-CV-06726-HSG, 2020 WL 1904471 (N.D. Cal. Apr. 17, 2020) ...............7
14
      Eisenberg v. Gagnon,
15      766 F.2d 770 (3d Cir. 1985) .................................................................................20
16
      Glickenhaus & Co. v. Household Int'l, Inc.,
17     787 F.3d 408 (7th Cir. 2015) ..................................................................................9
18
      Hanlon v. Chrysler Corp.,
19     150 F.3d 1011 (9th Cir. 1998) ....................................................................... 16, 19
20
      Hanon v. Dataproducts Corp.,
21     976 F.2d 497 (9th Cir. 1992) ................................................................................18
22
      Hefler v. Wells Fargo & Co.,
23     No. 16-CV-05479-JST, 2018 WL 6619983 (N.D. Cal. Dec. 18, 2018) ..............13
24
      Ikuseghan v. Multicare Health Sys.,
25      No. 3:14-CV-05539-BHS, 2016 WL 3976569
26      (W.D. Wash. July 25, 2016) .................................................................... 10, 11, 12
27

                                                               iii
     Case 2:20-cv-02303-CBM-MAA Document 117-1 Filed 02/18/22 Page 5 of 29 Page ID
                                      #:2305



      In re Bluetooth Headset Prod. Liab. Litig.,
 1
        654 F.3d 935 (9th Cir. 2011) ..................................................................................8
 2

 3
      In re Heritage Bond Litig.,
         No. 02-ML-1475 DT, 2005 WL 1594403 (C.D. Cal. June 10, 2005) .............6, 11
 4

 5
      In re Illumina, Inc. Sec. Litig.,
        No. 3:16-CV-3044-L-MSB, 2019 WL 6894075 (S.D. Cal. Dec. 18, 2019) ........20
 6

 7
      In re Intelcom Grp., Inc. Sec. Litig.,
        169 F.R.D. 142 (D. Colo. 1996) ...........................................................................20
 8
 9    In re Pac. Enterprises Sec. Litig.,
        47 F.3d 373 (9th Cir. 1995) ..................................................................................12
10

11    In re UTStarcom, Inc. Sec. Litig.,
        No. C 04-04908 JW, 2010 WL 1945737 (N.D. Cal. May 12, 2010) ...................17
12

13    In re Vivendi, S.A. Sec. Litig.,
        838 F.3d 223 (2d Cir. 2016) ...................................................................................9
14

15    In re Wireless Facilities, Inc. Sec. Litig.,
        253 F.R.D. 630 (S.D. Cal. 2008) ..........................................................................18
16

17    Just Film, Inc. v. Buono,
        847 F.3d 1108 (9th Cir. 2017) ..............................................................................18
18

19    Lerwill v. Inflight Motion Pictures, Inc.,
        582 F.2d 507 (9th Cir. 1978) ................................................................................19
20

21    Murillo v. Pac. Gas & Elec. Co.,
       266 F.R.D. 468 (E.D. Cal. 2010) ........................................................................6, 7
22

23    Officers for Justice v. Civil Serv. Comm'n of City & Cty. of San Francisco,
24     688 F.2d 615 (9th Cir. 1982) ................................................................................10

25    Perez-Funez v. Dist. Dir., I.N.S.,
26      611 F. Supp. 990 (C.D. Cal. 1984) .......................................................................17

27

                                                                iv
     Case 2:20-cv-02303-CBM-MAA Document 117-1 Filed 02/18/22 Page 6 of 29 Page ID
                                      #:2306



      Rinky Dink, Inc. v. World Bus. Lenders, LLC,
 1
        No. C14-0268-JCC, 2016 WL 4052588 (W.D. Wash. Feb. 3, 2016) ... 7, 9, 10, 11
 2

 3
      Rodriguez v. W. Publ'g Corp.,
       563 F.3d 948 (9th Cir. 2009) ........................................................... 7, 9, 12, 13, 14
 4

 5
      Rosenburg v. I.B.M.,
       No. CV06-00430PJH, 2007 WL 128232 (N.D. Cal. Jan. 11, 2007) ....................12
 6

 7
      Sandoval v. Tharaldson Employee Mgmt., Inc.,
        No. EDCV 08-482-VAP(OP), 2010 WL 2486346 (C.D. Cal. June 15, 2010) .. 13,
 8      14
 9
      Scott v. United Servs. Auto. Ass'n,
10      No. C11-1422-JCC, 2013 WL 12251170 (W.D. Wash. Jan. 7, 2013)...................7
11
      Van Bronkhorst v. Safeco Corp.,
12     529 F.2d 943 (9th Cir. 1976) ..................................................................................6
13
      Wehner v. Syntex Corp.,
14     117 F.R.D. 641 (N.D. Cal. 1987) .................................................................. 17, 18
15

16    Rules
17    Fed. R. Civ. P. 23 ............................................................................................. passim
18

19

20

21

22

23

24

25

26

27

                                                                   v
     Case 2:20-cv-02303-CBM-MAA Document 117-1 Filed 02/18/22 Page 7 of 29 Page ID
                                      #:2307



 1                       STATEMENT OF ISSUES TO BE DECIDED
 2              1.   Whether the Court should preliminarily approve the $300,000 cash
 3    settlement with a single Defendant, Shetty, leaving other remaining litigation claims
 4    intact.
 5              2.   Whether the Settlement Class should be preliminarily certified for
 6    purposes of the Settlement.
 7              3.   Whether Plaintiffs should be certified as Class Representatives of the
 8    Settlement Class for purposes of the Settlement.
 9              4.   Whether Co-Lead Counsel should be appointed Class Counsel for the
10    Settlement Class for purposes of the Settlement.
11              5.   Whether the proposed Settlement Notice, Proof of Claim and Release
12    Form, and the manner for dissemination of the Notice and Proof of Claim to the
13    Settlement Class should be approved.
14              6.   Whether the Court should set a date for a hearing for final approval of
15    the proposed Settlement, the proposed Plan of Allocation, and the application of Co-
16    Lead Counsel for an award of attorneys’ fees, reimbursement of litigation expenses,
17    and compensatory awards to Lead Plaintiffs.
18

19

20

21

22

23

24

25

26

27

                                                   1
     Case 2:20-cv-02303-CBM-MAA Document 117-1 Filed 02/18/22 Page 8 of 29 Page ID
                                      #:2308



 1             Co-Lead Plaintiffs Chris Hashem, Shengming Huang, and Abdul Razeq
 2    Abdul Ahad (“Plaintiffs”) collectively, and on behalf of the proposed Class, move
 3    this Court for Preliminary Approval of the Proposed Settlement Agreement with
 4    Defendant B.R. Shetty (“Shetty” and the “Shetty Settlement”) and Notice to the
 5    Settlement Class on claims that Shetty violated Sections 10(b) and 20(a) of the
 6    Securities Exchange Act of 1934 (“Exchange Act”).
 7    I.       INTRODUCTION1
 8             Plaintiffs and Shetty have agreed to settle claims against Shetty only for
 9    $300,000 in cash. The Shetty Settlement follows prior settlements with Defendants
10    Tompkins and Manghat, and provides an additional meaningful recovery to
11    Settlement Class Members. The Second Amended Complaint (“Complaint”) alleges
12    that NMC Health PLC (“NMC”) and certain officers and directors misrepresented
13    to investors the finances of NMC between March 13, 2016 and March 10, 2020 (the
14    “Class Period”), concealing related party transactions, NMC’s debt burden, reverse
15    factoring, and weaknesses in internal controls. ECF No. 102. At the end of the Class
16    Period, NMC disclosed approximately $3 billion of previously-concealed debt, and
17    more recently, it has entered administration (the British analog to an American
18    bankruptcy). Shetty is alleged to have misrepresented the finances to investors in
19    his role as Chief Executive Officer and Executive Vice Chairman until March 2017,
20    as the Non-Executive Joint Chairman of the Board from March 2017 until February
21    2020, and one of NMC’s immediate and ultimate controlling party for NMC’s
22    annual reports. Shetty denies any wrongdoing.
23             This action involves NMC American Depositary Shares (“ADS”), that traded
24    over-the-counter in the United States under the symbol “NMHLY.” It does not
25

26         1
           Unless otherwise noted, all citations are omitted and emphases are added. All capitalized
27    terms (including “Persons”) not defined herein take the meaning provided in the Stipulation.


                                                       2
     Case 2:20-cv-02303-CBM-MAA Document 117-1 Filed 02/18/22 Page 9 of 29 Page ID
                                      #:2309



 1    involve NMC ordinary shares, which traded in London.
 2          The Shetty Settlement is an excellent result under difficult circumstances. It
 3    was negotiated by lawyers experienced in securities class action litigation and does
 4    not compromise claims against any other Defendant. Moreover, this Settlement
 5    avoids the very serious risks that the Settlement Class would recover nothing at all
 6    from Shetty, including the risks that Shetty would secure dismissal or summary
 7    judgment, the risk that Plaintiffs could not certify a class, or that they could not prove
 8    that Shetty made false statements with scienter. In light of these major litigation
 9    risks, the Settlement’s recovery, which Plaintiffs estimate to comprise
10    approximately 15% of the estimated damages attributable to NMHLY ADS of
11    slightly under $2 million, provides Settlement Class Members with tangible and
12    significant benefits and should be approved.
13          As with the prior settlements in this Action, the Court should also approve the
14    methods and forms of notice to the Class. The Claims Administrator will mail a
15    postcard setting out the principal terms of the settlement (“Postcard Notice”) to
16    potential class members, publish a Summary Notice in a newswire with broad
17    circulation, and post a full Notice of Pendency and Proposed Settlement of Class
18    Action (“Internet Notice”) on the previously-established case-specific webpage.
19    Each of the Postcard Notice, Summary Notice, and Internet Notice will advise
20    Settlement Class Members of: (i) the essential terms of the proposed Settlement; (ii)
21    the proposed plan for allocating the Shetty Settlement proceeds among Settlement
22    Class Members; (iii) Class Counsel’s intent to apply for fees not to exceed one-third
23    of the Settlement Amount, incremental litigation expenses not to exceed $10,000,
24    and an award to Lead Plaintiffs not to exceed $3,000 each; and (iv) how to file a
25    claim, opt out of the Settlement, or file an objection.
26          Finally, the Court should preliminarily certify a settlement class for the Shetty
27    Settlement, as it did for the Tompkins Settlement. “[S]ecurities fraud cases fit Rule

                                                    3
     Case 2:20-cv-02303-CBM-MAA Document 117-1 Filed 02/18/22 Page 10 of 29 Page ID
                                       #:2310



 1    23 like a glove.” Booth v. Strategic Realty Tr., Inc., No. 13-CV-04921-JST, 2015
 2    WL 3957746, at *9 (N.D. Cal. June 28, 2015). Here, all of the Rule 23(a) elements
 3    are met, common issues predominate over individual issues, and a class action is
 4    superior to other methods of resolving the claims at issue.
 5               The Court should preliminarily approve the Shetty Settlement, approve the
 6    method and form of notice, and preliminarily certify the Settlement Class.
 7    II.        SUMMARY OF THE LITIGATION AND SHETTY SETTLEMENT
 8          A.      The Litigation
 9               This Action was filed on March 10, 2020 against NMC and certain of its
10    officers and directors. On September 24, 2020, this Court consolidated related
11    actions, appointed Plaintiffs as Co-Lead Plaintiffs and approved their selection of
12    Pomerantz LLP and The Rosen Law Firm, P.A. as Co-Lead Counsel. ECF No. 21.
13               Plaintiffs and Shetty filed a joint stipulation on March 25, 2021 effecting
14    service of process upon Shetty (see ECF No. 35), and Plaintiffs have since served
15    all other individual defendants. Claims against the corporate defendant are stayed
16    due to its bankruptcy, and Plaintiffs do not expect any recovery to be possible from
17    that entity.
18               On August 4, 2021, Shetty filed a motion to dismiss the claims against him.
19    ECF No. 70. After the Parties fully briefed the motion, the Court entered an order
20    on November 1, 2021 granting Shetty’s motion to dismiss with leave to amend.
21    ECF No. 91. On November 12, 2021, Plaintiffs filed the Second Amended
22    Complaint against Shetty and other Defendants. ECF No. 102.
23          B.      Settlement Discussions
24               Given the relatively small dollar amounts involved, and the potential
25    litigation risks, Co-Lead Counsel and Shetty’s counsel began to discuss settlement
26    after Plaintiffs filed the Second Amended Complaint.                 After numerous
27    communications over the subsequent months, they arrived at the Shetty Settlement.

                                                     4
     Case 2:20-cv-02303-CBM-MAA Document 117-1 Filed 02/18/22 Page 11 of 29 Page ID
                                       #:2311



 1       C.      The Settlement’s Terms
 2            The Shetty Settlement calls for Shetty (or his insurers) to pay $300,000 into
 3    a non-reversionary fund for the benefit of the Settlement Class. In exchange,
 4    Plaintiffs and Settlement Class Members will release the Released Claims against
 5    the Shetty Released Parties. Both the Released Parties and the Released Claims
 6    are defined in the Stipulation; their definition is reproduced below. Both
 7    definitions are customary for securities class action settlements.
 8            “Released Parties” means Shetty, his legal representatives, heirs, successors
 9    in interest or assigns, attorneys, accountants, advisors, consultants, representatives,
10    agents, insurers, reinsurers, or any person, firm, trust, corporation or other entity
11    in which Shetty has a controlling interest or of which Shetty is a beneficiary. See
12    Settlement Stipulation, ¶1.26.
13            “Released Claims” means and includes any and all Claims (including
14    Unknown Claims as defined in Settlement Stipulation, ¶1.38), demands, rights,
15    liabilities, and causes of action of every nature and description whatsoever
16    (including, but not limited to, any claims for damages, restitution, rescission,
17    interest, attorneys’ fees, expert or consulting fees, and any other costs, expenses, or
18    liability whatsoever), whether based on federal, state, local, statutory or common
19    law or any other law, rule or regulation, whether known or unknown, contingent or
20    absolute, mature or immature, discoverable or undiscoverable, whether concealed
21    or hidden, suspected or unsuspected, which now exist, or heretofore have existed,
22    asserted or that could have been asserted by or on behalf of any of the Releasing
23    Parties, in any capacity, arising out of or relating in any way to (i) the purchase,
24    acquisition, or sale of NMC Health PLC American Depositary Shares (“ADSs”)
25    securities during the Class Period; or (ii) to any and all of the allegations,
26    transactions, acts, facts, matters, occurrences, disclosures, statements, filings,
27    representations, omissions, or events that relate to the claims in the Action or which

                                                   5
     Case 2:20-cv-02303-CBM-MAA Document 117-1 Filed 02/18/22 Page 12 of 29 Page ID
                                       #:2312



 1    were or could have been alleged or asserted in the Action. Notwithstanding the
 2    foregoing, “Released Claims” does not include claims to enforce the terms of this
 3    Stipulation or orders or judgments issued by the Court in connection with this
 4    Settlement. Id. at ¶1.25.
 5            While the Released Claims include Unknown Claims and other claims that
 6    could have been asserted in this Action, as is customary, the release of such claims
 7    is appropriate because all released claims are based on the identical factual predicate
 8    of the claims asserted in this Action. The proposed Shetty Settlement does not
 9    release any claims to enforce the Shetty Settlement, or claims of any Person that
10    excludes him-, her-, or itself from the proposed Settlement Class.
11    III.    PRELIMINARY           APPROVAL            OF   THE      SETTLEMENT            IS
              WARRANTED
12
         A.      Legal Standard
13
              Federal Rule of Civil Procedure 23(e) requires judicial approval of any class-
14
      wide settlement. Fed. R. Civ. P. 23(e) (“The Claims . . . of a certified class may be
15
      settled . . . only with the court’s approval.”). “In deciding whether to approve a
16
      proposed settlement, the Ninth Circuit has a ‘strong judicial policy that favors
17
      settlements, particularly where complex class action litigation is concerned.’” In re
18
      Heritage Bond Litig., No. 02-ML-1475 DT, 2005 WL 1594403, at *2 (C.D. Cal.
19
      June 10, 2005). “[T]here is an overriding public interest in settling and quieting
20
      litigation,” which is “particularly true in class action suits.” Van Bronkhorst v.
21
      Safeco Corp., 529 F.2d 943, 950 (9th Cir. 1976).
22
              Courts evaluate class settlements in two steps. In the first step, at issue here,
23
      courts determine whether the settlement appears to be sufficiently fair to permit the
24
      plaintiffs to notify the class of the settlement and solicit claims, objections, and opt-
25
      outs. Fed. R. Civ. P. 23(e); Murillo v. Pac. Gas & Elec. Co., 266 F.R.D. 468, 473
26
      (E.D. Cal. 2010) (“Procedurally, the approval of a class action settlement takes place
27

                                                    6
     Case 2:20-cv-02303-CBM-MAA Document 117-1 Filed 02/18/22 Page 13 of 29 Page ID
                                       #:2313



 1    in two stages.”).
 2          “Courts may preliminarily approve a settlement and notice plan to the class if
 3    the proposed settlement: (1) appears to be the product of serious, informed, non-
 4    collusive negotiations; (2) does not grant improper preferential treatment to class
 5    representatives or other segments of the class; (3) falls within the range of possible
 6    approval; and (4) has no obvious deficiencies.” Der-Hacopian v. Darktrace, Inc.,
 7    No. 18-CV-06726-HSG, 2020 WL 1904471, at *7 (N.D. Cal. Apr. 17, 2020). The
 8    preliminary approval stage involves a “less searching” inquiry than at final approval,
 9    and “seek[s] merely to identify any ‘glaring deficiencies’ prior to sending notice to
10    class members.” Rinky Dink, Inc. v. World Bus. Lenders, LLC, No. C14-0268-JCC,
11    2016 WL 4052588, at *4 (W.D. Wash. Feb. 3, 2016).
12       B.  The Proposed Settlement Results From Serious, Informed, Non-
             Collusive Negotiations
13          The proposed settlement results from hard-fought negotiations among
14    experienced counsel. See Rodriguez v. W. Publ'g Corp., 563 F.3d 948, 965 (9th Cir.
15    2009) (“We put a good deal of stock in the product of an arms-length, non-collusive,
16    negotiated resolution.”).
17          None of the factors identified by the Ninth Circuit as signs of a potentially
18    collusive settlement are present here. Counsel have agreed to seek a fee no greater
19    than one-third of the Settlement Amount, and no Settlement Class Member will
20    receive preferential treatment. See Scott v. United Servs. Auto. Ass’n, No. C11-1422-
21    JCC, 2013 WL 12251170, at *1 (W.D. Wash. Jan. 7, 2013) (noting preliminary
22    approval generally granted absent “obvious deficiencies, such as unduly preferential
23    treatment of class representatives or of segments of the class”) (citations omitted).
24    Finally, the funds will not revert to Shetty or his insurer under any circumstances.
25    In short, the settlement does not show any signs of collusion or of any other
26    deficiency.
27

                                                  7
     Case 2:20-cv-02303-CBM-MAA Document 117-1 Filed 02/18/22 Page 14 of 29 Page ID
                                       #:2314


         C.        Each Churchill Factor Considered at This Stage Supports
 1                 Preliminarily Approving the Settlement
 2            In addition to assessing whether the settlement is collusive, courts in the Ninth
 3    Circuit assessing a proposed class action settlement weigh the various Churchill
 4    factors. These are:
 5            (1) the strength of the plaintiff’s case; (2) the risk, expense, complexity,
              and likely duration of further litigation; (3) the risk of maintaining class
 6            action status throughout the trial; (4) the amount offered in settlement;
 7            (5) the extent of discovery completed and the stage of the proceedings;
              (6) the experience and views of counsel; (7) the presence of a
 8            governmental participant; and (8) the reaction of the class members of
              the proposed settlement.
 9

10    In re Bluetooth Headset Prod. Liab. Litig., 654 F.3d 935, 946 (9th Cir. 2011). Here,
11    the last two factors are not applicable because no government is participating in this
12    Action, and the Court cannot assess the reaction of the Settlement Class Members to
13    the proposed settlement until the Final Approval Hearing is held. However, each of
14    the remaining Churchill factors supports preliminary approval.
15            1.     The Strength of Plaintiffs’ Case, Risks of Further Litigation, and
                     Risk of Maintaining Class Action Status Support Approval
16
              Courts typically examine the first three Churchill factors together, and each
17
      supports preliminary approval of the settlement. See Betorina v. Randstad US, L.P.,
18
      No. 15-CV-03646-EMC, 2017 WL 1278758, at *5 (N.D. Cal. Apr. 6, 2017)
19
      (analyzing the first three Churchill factors together).
20
              The risks inherent in further litigation against Shetty are significant. These
21
      risks include uncertainty about whether Plaintiffs will be able to prove that any
22
      challenged statement was false or misleading, that the alleged misstatements and
23
      omissions actually caused the Settlement Class any damages, and the amount of
24
      damages, if any. While Plaintiffs believe they have viable arguments, there is no
25
      assurance that their claims against Shetty would be sustained. The Court already
26
      dismissed Plaintiffs’ claims against Shetty once before, and could do so again. If
27

                                                     8
     Case 2:20-cv-02303-CBM-MAA Document 117-1 Filed 02/18/22 Page 15 of 29 Page ID
                                       #:2315



 1    claims against Shetty survived a motion to dismiss, the documentary and expert
 2    evidence that the parties may present at trial or summary judgment would be
 3    complex, may be susceptible to different interpretations, and might not be
 4    convincing to the jury. A jury, or this Court at summary judgment, may find in favor
 5    of Shetty on the merits, or on the amount of damages or the method by which those
 6    damages are calculated.
 7          The scope of discovery would be significant and complex because it would
 8    involve bankrupt entities and foreign persons largely unreachable with conventional
 9    discovery tools. Plaintiffs would have to analyze tens if not hundreds of thousands
10    of documents and would have to prove Shetty’s state of mind for each of his
11    statements.
12          This case would require experts. Plaintiffs have already retained consulting
13    financial and damages experts. Were this case to proceed, Plaintiffs would need
14    testifying experts on, at a minimum, financial matters, accounting, and related party
15    transactions.
16          Nor could this case be resolved quickly. The time from filing a securities
17    class action to victory on appeal regularly exceeds a decade. In re Vivendi, S.A. Sec.
18    Litig., 838 F.3d 223, 232 (2d Cir. 2016) (securities class action filed in 2002 affirmed
19    in 2016); Glickenhaus & Co. v. Household Int'l, Inc., 787 F.3d 408, 413 (7th Cir.
20    2015) (appellate decision in 2015 following verdict in favor of plaintiffs remanding
21    case brought in 2002 for further proceedings). The inevitable delay supports
22    approval. See Rodriguez, 563 F.3d at 966 (“Inevitable appeals would likely prolong
23    the litigation, and any recovery by class members, for years. This factor, too, favors
24    the settlement.”).
25          Hence, the strength of Plaintiffs’ case against Shetty balanced against the risk,
26    delays, and expense of litigation – assuming that Plaintiffs prevailed on the
27    threatened motion to dismiss – support preliminary approval. Rinky Dink, 2016 WL

                                                   9
     Case 2:20-cv-02303-CBM-MAA Document 117-1 Filed 02/18/22 Page 16 of 29 Page ID
                                       #:2316



 1    4052588, at *5 (finding first three Churchill factors supported preliminary approval
 2    when plaintiffs were confident in their case but continuing to litigate risked losing
 3    class certification and was “inherently expensive”); Ikuseghan v. Multicare Health
 4    Sys., No. 3:14-CV-05539-BHS, 2016 WL 3976569, at *4 (W.D. Wash. July 25,
 5    2016) (“Absent the proposed Settlement, Class Members would likely not obtain
 6    relief, if any, for a period of years.”).
 7           Finally, Plaintiffs understand that the majority of Shetty’s assets are subject
 8    to a freezing order from a London court, and therefore believe any attempt to attach
 9    and recover assets from him would be exceptionally difficult. Plaintiffs do not
10    believe a substantially higher settlement from Shetty is possible at this time.
11           2.     The Settlement Recovers a Reasonable Proportion of Damages
12           The amount offered in settlement also weighs in favor of preliminary
13    approval. Courts typically weigh the relief obtained in the settlement against the
14    possible relief that could be obtained at trial. See, e.g. Ikuseghan, 2016 WL
15    3976569, at *4 (comparing value obtained in TCPA settlement against possible
16    recovery at trial). That said, the settlement should not be rejected just because the
17    amount of the settlement is small compared to the best possible result. Officers for
18    Justice v. Civil Serv. Comm'n of City & Cty. of San Francisco, 688 F.2d 615, 628
19    (9th Cir. 1982) (“[A] cash settlement amounting to only a fraction of the potential
20    recovery will not per se render the settlement . . . unfair.”).
21           According to a recent review of securities class action settlements, cases
22    alleging damages of less than $2 million typically settle in their entirety as against
23    all Defendants for about 11% of total damages. Laarni T. Bulan et al., Securities
24    Class Action Settlements: 2019 Review and Analysis (Cornerstone Research).2
25

26       2
            Available at https://www.cornerstone.com/Publications/Reports/Securities-Class-Action-
27    Settlements-2019-Review-and-Analysis.


                                                     10
     Case 2:20-cv-02303-CBM-MAA Document 117-1 Filed 02/18/22 Page 17 of 29 Page ID
                                       #:2317



 1    After consulting with their expert, Plaintiffs estimate that damages here are slightly
 2    under $2 million. The $300,000 Shetty Settlement alone recovers 15% of these
 3    damages (and in conjunction with the $120,000 Tompkins Settlement and $190,000
 4    Manghat Settlement, over 30.5%), which is more than the median percentage of
 5    investor losses recovered in securities class action settlements. See In re Heritage
 6    Bond, 2005 WL 1594403, at *8-*9 (average recovery between 2% to 3% of
 7    maximum damages). And, the Shetty Settlement does not release claims against any
 8    other Defendant, leaving open the possibility for an even more substantial recovery.
 9          3.     Plaintiffs’ Investigation Allowed Them to Make an Informed
                   Decision
10
            Next, even at this early stage of the proceedings, Plaintiffs “had enough
11
      information to make an informed decision about the strength of their cases and the
12
      wisdom of settlement.” Rinky Dink, 2016 WL 4052588, at *5. Plaintiffs’ private
13
      investigation revealed the potential difficulties they would face establishing reliance,
14
      due to the Court’s November 1, 2021 motion to dismiss order. Additionally,
15
      Plaintiffs had the benefit of briefing in the bankruptcy proceedings and related
16
      lawsuits. Plaintiffs also consulted with multiple experts about the range of damages
17
      and the ADS structure.      As a result, Plaintiffs were fully informed about all
18
      significant issues, and are capable of assessing the benefits of the proposed
19
      settlement. See Ikuseghan, 2016 WL 3976569, at *3 (approving settlement reached
20
      “between experienced attorneys who are familiar . . . with the legal and factual issues
21
      of this case in particular”). Thus, this factor supports preliminary approval.
22
                   4.     Experienced Counsel Believe the Settlement is in the Best
23                        Interests of the Settlement Class
24          The final Churchill factor also demonstrates that the proposed settlement
25    warrants preliminary approval. Co-Lead Counsel have dozens of years of combined
26    experience and expertise in litigating securities actions. Plaintiffs were consulted
27

                                                  11
     Case 2:20-cv-02303-CBM-MAA Document 117-1 Filed 02/18/22 Page 18 of 29 Page ID
                                       #:2318



 1    throughout the litigation and had ample opportunity to assess the strengths of the
 2    claims in which to appraise the sufficiency of the settlement, which they approved.
 3    See e.g., Rodriguez, 563 F.3d at 967 (“[P]arties represented by competent counsel
 4    are better positioned than courts to produce a settlement that fairly reflects each
 5    party’s expected outcome in litigation.”) (citing In re Pac. Enterprises Sec. Litig.,
 6    47 F.3d 373, 378 (9th Cir. 1995)); Ikuseghan, 2016 WL 3976569, at *4 (considering
 7    that class counsel, “who are experienced and skilled in class action litigation, support
 8    the [s]ettlement as fair, reasonable, and adequate, and in the best interests of the
 9    [c]lass as a whole,” and approving settlement).
10          The Shetty Settlement provides a reasonable recovery given the risks of
11    further litigation against him. The Court should grant preliminary approval and allow
12    Settlement Class Members to be heard.
13    IV.   THE COURT SHOULD PRELIMINARILY APPROVE THE PROPOSED
            PLAN OF ALLOCATION
14
            The proposed Plan of Allocation, which is detailed in the Notice, will govern
15
      the allocation of settlement proceeds among Settlement Class Members who timely
16
      file a Claim Form. Courts in this Circuit typically approval a plan of allocation, so
17
      long as “the proposed plan is rationally related to the relative strengths and
18
      weaknesses of the respective claims asserted.” Rosenburg v. I.B.M., No. CV06-
19
      00430PJH, 2007 WL 128232, at *5 (N.D. Cal. Jan. 11, 2007). Co-Lead Counsel
20
      prepared the proposed Plan of Allocation in consultation with Plaintiffs’ damages
21
      expert. The Plan of Allocation rationally reflects compensable damages suffered by
22
      Settlement Class Members. All Settlement Class Members are treated equally under
23
      the plan.
24
            The only agreement made in connection with the Shetty Settlement – other
25
      than the Settlement itself – is a confidential Supplemental Agreement, which sets
26
      forth certain conditions under which Shetty may terminate the settlement if requests
27

                                                  12
     Case 2:20-cv-02303-CBM-MAA Document 117-1 Filed 02/18/22 Page 19 of 29 Page ID
                                       #:2319



 1    for exclusion from the Settlement Class exceed a certain amount, which is kept
 2    confidential (“Opt-Out Threshold”). This type of agreement is common in class
 3    actions and does not render a settlement unfair. See Hefler v. Wells Fargo & Co.,
 4    No. 16-CV-05479-JST, 2018 WL 6619983, at *7 (N.D. Cal. Dec. 18, 2018) (“[t]he
 5    existence of a termination option triggered by the number of class members who opt
 6    out of the Settlement does not by itself render the Settlement unfair.”). Thus, the
 7    Plan of Allocation will fairly and equitably distribute the proceeds among Settlement
 8    Class members who submit valid claims.
 9    V.    INTENDED REQUEST FOR FEES AND LITIGATION EXPENSES
10          As explained in the Postcard Notice and Notice, Co-Lead Counsel intend to
11    apply for fees not to exceed one-third of the Settlement Amount, incremental
12    litigation expenses not to exceed $10,000, and an award to Lead Plaintiffs not to
13    exceed $3,000 each, so as to maximize distribution of the Shetty Settlement to the
14    Settlement Class. Co-Lead Counsel will provide much more detailed information in
15    support of their application in its motion for fees and expenses, to be filed with the
16    Court no later than 28 days before the final Settlement Hearing.
17    VI.   THE PROPOSED CLASS NOTICE SHOULD BE APPROVED
18          Rule 23(c)(2)(B) of the Federal Rules of Civil Procedure requires that notice
19    of a settlement be “the best notice that is practicable under the circumstances,
20    including individual notice to all members who can be identified through reasonable
21    effort.” See also Fed. R. Civ. P. 23(e)(1) (“The court must direct notice in a
22    reasonable manner to all class members who would be bound by the propos[ed
23    settlement].”). Moreover, “[n]otice is satisfactory if it ‘generally describes the terms
24    of the settlement in sufficient detail to alert those with adverse viewpoints to
25    investigate and to come forward and be heard.’” Rodriguez, 563 F.3d at 962; see
26    also Sandoval v. Tharaldson Employee Mgmt., Inc., No. EDCV 08-482-VAP(OP),
27    2010 WL 2486346, at *11 (C.D. Cal. June 15, 2010) (“The notice must explain in

                                                  13
     Case 2:20-cv-02303-CBM-MAA Document 117-1 Filed 02/18/22 Page 20 of 29 Page ID
                                       #:2320



 1    easily understood language the nature of the action, definition of the class, class
 2    claims, issues and defenses, ability to appear through individual counsel, procedure
 3    to request exclusion, and binding nature of a class judgment.”).
 4          In accordance with the proposed Preliminary Approval Order, Co-Lead
 5    Counsel will cause the Claims Administrator to mail the Postcard Notice, in
 6    substantially the form of Exhibit A-4 to the Stipulation, to those members of the
 7    Settlement Class as may be identified through reasonable effort. In addition, the
 8    Claims Administrator will solicit nominees for lists of their customers who may be
 9    Settlement Class Members and either provide the nominees with sufficient copies of
10    the Postcard Notices or mail directly to these Settlement Class Members. The
11    Claims Administrator will publish the Summary Notice, in substantially the form of
12    Exhibit A-2 to the Stipulation, through a newswire service with wide circulation.
13    The Claims Administrator will also post the Notice and Proof of Claim, in
14    substantially the form of Exhibits A-1 and A-3 to the Stipulation, on a case-specific
15    webpage, along with the Summary Notice, Postcard Notice, Stipulation of
16    Settlement, Preliminary Approval Order, Complaint, and other important
17    documents.
18          The Settlement Administrator shall also, among other things, receive Proofs
19    of Claim and determine whether they present valid clams in whole or part, work with
20    Class Members as needed to help them supplement or clarify their Proofs of Claim,
21    and determine each Authorized Claimant’s pro rata share of the Net Settlement Fund
22    based upon each Authorized Claimant’s Recognized Claim compared to the total
23    Recognized Claims of all Authorized Claimants (as set forth in the Plan of
24    Allocation, or in such other plan of allocation as the Court approves).
25          In addition, Rule 23(h)(1) requires that “[n]otice of the motion [for attorneys’
26    fees] must be served on all parties and, for motions by class counsel, directed to class
27    members in a reasonable manner.” The proposed Postcard Notice satisfies the

                                                  14
     Case 2:20-cv-02303-CBM-MAA Document 117-1 Filed 02/18/22 Page 21 of 29 Page ID
                                       #:2321



 1    requirements of Rule 23(h)(1), as it notifies Class members that Class Counsel will
 2    seek fees not to exceed one-third of the Settlement Amount, litigation expenses not
 3    to exceed $10,000, and an award to Lead Plaintiffs not to exceed $3,000 each. Once
 4    they are filed, the Claims Administrator will post a copy of Plaintiffs’ Motions in
 5    support of final approval and for reimbursement of expenses on the case webpage,
 6    along with supporting documents.
 7          The proposed Notice includes all of the information required by the PSLRA,
 8    Federal Rules of Civil Procedure, and Due Process. The proposed Notice describes
 9    the proposed Settlement and sets forth, among other things: (1) the nature, history,
10    and status of the litigation; (2) the definition of the proposed Settlement Class and
11    who is excluded; (3) the reasons the parties have proposed the Settlement; (4) the
12    amount of the Settlement Fund; (5) the estimated average distribution per damaged
13    share; (6) the Settlement Class’s claims and issues; (7) the parties’ disagreement
14    over damages and liability; (8) the maximum amount of attorneys’ fees and expenses
15    that Co-Lead Counsel intends to seek in connection with final Settlement approval;
16    (9) the maximum amount Plaintiffs’ Counsel will request for reimbursement of costs
17    and expenses; and (10) the plan for allocating the Settlement proceeds to the
18    Settlement Class.
19          Further, the proposed Postcard Notice discusses the rights Settlement Class
20    members have in connection with the Settlement, including (1) the right to request
21    exclusion from the Settlement Class and the manner for submitting a request for
22    exclusion; (2) the right to object to the Settlement, or any aspect thereof, and the
23    manner for filing and serving an objection; and (3) the right to participate in the
24    Settlement and instructions on how to complete and submit a Proof of Claim to the
25    Claims Administrator.
26          The notice program and the form and content of the Notice and Summary
27    Notice satisfies all applicable requirements of both the Federal Rules of Civil

                                                 15
     Case 2:20-cv-02303-CBM-MAA Document 117-1 Filed 02/18/22 Page 22 of 29 Page ID
                                       #:2322



 1    Procedure and the PSLRA. Accordingly, in granting preliminary approval of the
 2    Shetty Settlement, the Court should also approve the proposed form and method of
 3    giving notice to the Class.
 4          Plaintiffs propose the following schedule:
 5
               Summary Notice emailed and/or 16 calendar days after entry of
 6
               Postcard Notice mailed to       the Preliminary Approval Order
 7             Settlement Class Members
               Summary Notice published        26 calendar days after entry of
 8
                                               the Preliminary Approval Order
 9             Deadline for papers in support  28 calendar days before the final
               of settlement and Expense       approval Settlement Hearing
10
               Award
11             Objection deadline              21 calendar days prior to the
12
                                               final approval Settlement
                                               Hearing
13             Opt-Out deadline                21 calendar days prior to final
14                                             approval Settlement Hearing
               Deadline for response to        7 calendar days before the final
15             objections and other reply      approval Settlement Hearing
16             papers in support of Settlement
               Postmark deadline to submit     30 calendar days prior to the
17             Proofs of Claims to Claims      final approval Settlement
18             Administrator                   Hearing

19    VII. THE COURT SHOULD CERTIFY THE CLASS FOR SETTLEMENT
           PURPOSES
20
            This Court should also preliminarily certify a Settlement Class. The Ninth
21
      Circuit has long recognized that class actions may be certified for the purpose of
22
      settlement only as long as the class meets the certification requirements under Rule
23
      23. See Hanlon v. Chrysler Corp., 150 F.3d 1011, 1019 (9th Cir. 1998). Indeed,
24
      “securities fraud cases fit Rule 23 like a glove.” Booth, 2015 WL 3957746, at *9.
25
            Rule 23(a) sets forth four prerequisites to class certification: (i) numerosity;
26
      (ii) commonality; (iii) typicality; and (iv) adequacy of representation. In addition,
27

                                                 16
     Case 2:20-cv-02303-CBM-MAA Document 117-1 Filed 02/18/22 Page 23 of 29 Page ID
                                       #:2323



 1    the class must meet one of the three requirements of Rule 23(b). See Fed. R. Civ. P.
 2    23. Here, the proposed Settlement Class consists of all persons and entities who
 3    purchased the NMC ADSs between March 13, 2016, and March 10, 2020, as alleged
 4    in the Complaint.
 5            Securities claims are particularly well suited for class treatment because they
 6    let private actors supplement civil and criminal proceedings where there are
 7    numerous investors with small individual claims who otherwise would have no
 8    reason to litigate. See Blackie v. Barrack, 524 F.2d 891, 902 (9th Cir. 1975). This
 9    action is no exception and, as explained below, the proposed Settlement Class
10    satisfies each of the requirements of Rule 23.
11       A.      Numerosity
12       Rule 23(a)(1) requires that the class be so numerous that joinder of all class
13    members is impracticable. Classes consisting of 25 members have been held to be

14    large enough to justify certification. See Perez-Funez v. Dist. Dir., I.N.S., 611 F.

15
      Supp. 990, 995 (C.D. Cal. 1984). “Some courts have assumed that the numerosity
      requirement is met in securities fraud suits involving nationally traded stocks.” In
16
      re UTStarcom, Inc. Sec. Litig., No. C 04-04908 JW, 2010 WL 1945737, at *4 (N.D.
17
      Cal. May 12, 2010).
18
              Here, NMC ADSs had an aggregate volume of 1.6 million over the Class
19
      Period, and Plaintiffs estimate that there were hundreds of thousands of damaged
20
      shares.    In addition, beneficial holders of NMC ADSs plainly number in the
21
      hundreds and are geographically located throughout the United States and the world,
22
      making joinder of all class members impracticable. Thus, the numerosity element
23
      is satisfied.
24
         B.      Commonality
25
              Rule 23(a)(2) is satisfied where the proposed class representative shares at
26
      least one question of fact or law with the claims of the prospective class. Wehner v.
27

                                                  17
     Case 2:20-cv-02303-CBM-MAA Document 117-1 Filed 02/18/22 Page 24 of 29 Page ID
                                       #:2324



 1    Syntex Corp., 117 F.R.D. 641, 644 (N.D. Cal. 1987). Further, commonality tolerates
 2    variation among individual members of the class as long as the claims of the plaintiff
 3    and other class members are based on the same legal or remedial theory. Blackie,
 4    524 F.2d at 902. Here, questions that are common to the proposed Class include,
 5    among others: (i) whether Shetty’s alleged acts violated the federal securities laws;
 6    (ii) whether statements made by Shetty to the investing public during the Class
 7    Period misrepresented material facts about NMC; (iii) whether the price of NMC
 8    ADS was artificially inflated during the Class Period; and (iv) to what extent
 9    Settlement Class Members have sustained damages and the proper measure of such
10    damages.      Securities actions containing such common questions are prime
11    candidates for class certification.
12            In short, because the core complaint of all Settlement Class Members is that
13    they purchased NMC ADSs at artificially-inflated prices and suffered damages as a
14    result of the alleged securities violations, the commonality requirement of Rule
15    23(a)(2) is satisfied. See In re Wireless Facilities, Inc. Sec. Litig., 253 F.R.D. 630,
16    635 (S.D. Cal. 2008) (finding “core issue” in a securities litigation to be plaintiffs’
17    acquisition of “[defendant’s] common stock at artificially inflated prices”).
18       C.      Typicality
19            “The test of typicality is whether other members have the same or similar
20    injury, whether the action is based on conduct which is not unique to the named

21    plaintiffs, and whether other class members have been injured by the same course of

22
      conduct.” Hanon v. Dataproducts Corp., 976 F.2d 497, 508 (9th Cir. 1992). “The
      requirement of typicality is not primarily concerned with whether each person in a
23
      proposed class suffers the same type of damages; rather, it is sufficient for typicality
24
      if the plaintiff endured a course of conduct directed against the class.” Just Film,
25
      Inc. v. Buono, 847 F.3d 1108, 1118 (9th Cir. 2017). Differences in the amount of
26
      damages, the size or manner of purchase, the nature of the purchaser, and the date
27

                                                  18
     Case 2:20-cv-02303-CBM-MAA Document 117-1 Filed 02/18/22 Page 25 of 29 Page ID
                                       #:2325



 1    of purchase are insufficient to defeat class certification. See id. Rather, “in
 2    a securities class action, where the plaintiffs assert that defendants disseminated
 3    allegedly false or misleading statements, the claims and nature of the evidence are

 4    generally considered sufficient to satisfy the typicality requirement.” Ciuffitelli v.

 5
      Deloitte & Touche LLP, No. 3:16-CV-00580-AC, 2019 WL 1441634, at *13 (D. Or.
      Mar. 19, 2019), report and recommendation adopted, No. 3:16-CV-00580-AC,
 6
      2019 WL 2288432 (D. Or. May 29, 2019) (internal citations and quotations omitted).
 7
              Here, Plaintiffs’ and the Settlement Class Members’ claims arise from the
 8
      same alleged conduct by Defendants. Plaintiffs allege that, like the other members
 9
      of the Settlement Class, they purchased NMC ADSs at prices that were inflated
10
      because Defendants, in violation of the federal securities laws, made false and
11
      materially misleading statements and omissions during the Class Period. The proof
12
      that Plaintiffs would present to establish their claims would also prove the claims of
13    the rest of the Class. Further, Plaintiffs are not subject to any unique defenses that
14    could make them atypical members of the Settlement Class.
15       D.      Adequacy
16            A representative party satisfies Rule 23(a)’s adequacy requirement by
17    showing that it will fairly and adequately protect the interests of the class. To satisfy
18    this requirement, the proposed class representative must be free of interests that are
19    antagonistic to the other members of the class, and counsel representing the class
20    must be qualified, experienced, and capable of conducting the litigation. Lerwill v.
21    Inflight Motion Pictures, Inc., 582 F.2d 507, 512 (9th Cir. 1978) (citation omitted);
22    Hanlon, 150 F.3d at 1020.
23            Plaintiffs’ claims are typical of and coextensive with those of the Settlement
24    Class. Plaintiffs, like all class members, purchased NMC ADS shares during the
25    Class Period that was artificially inflated by Defendants’ allegedly materially false
26    and misleading statements and omissions, and were damaged thereby.
27

                                                   19
     Case 2:20-cv-02303-CBM-MAA Document 117-1 Filed 02/18/22 Page 26 of 29 Page ID
                                       #:2326



 1            Further, Plaintiffs have retained counsel highly experienced in securities class
 2    action litigation, who have successfully prosecuted many securities and other
 3    complex class actions throughout the United States. Thus, Plaintiffs are an adequate
 4    representative of the proposed Class, and their counsel is qualified, experienced, and
 5    capable of prosecuting this action, in satisfaction of Rule 23(a)(4).
 6       E.      Common Questions of Law Predominate and a Class Action is the
 7
                 Superior Method of Adjudication
         Finally, in addition to the four requirements of Rule 23(a), a class must also
 8
      satisfy one of the three requirements of Rule 23(b). Here, little question exists that
 9
      a class action is superior to other available methods for litigation of the claims
10
      asserted here, as required by Rule 23(b)(3). To ensure that a class action is more
11
      efficient than individual actions, Rule 23(b) requires that common issues
12
      predominate over issues that are particular to a class representative. In a securities
13
      class action, “whether Defendants’ disseminated releases and statements during the
14    Class period misrepresented material facts, outweigh any individual issues that may
15    arise.” In re Illumina, Inc. Sec. Litig., No. 3:16-CV-3044-L-MSB, 2019 WL
16    6894075, at *10 (S.D. Cal. Dec. 18, 2019)
17            Further, “the superiority of class actions in large securities fraud [matters] is
18    well recognized.” In re Intelcom Grp., Inc. Sec. Litig., 169 F.R.D. 142, 149 (D.
19    Colo. 1996). The predominance test is met in this action: the same set of operative
20    facts and a single proximate cause applies to each class member. If Plaintiffs and
21    each of the Settlement Class Members were to bring individual actions, they each
22    would be required to prove the same wrongdoing by Defendant to establish liability,
23    showing superiority. See Eisenberg v. Gagnon, 766 F.2d 770, 785 (3d Cir. 1985)
24    (holding class actions are a particularly appropriate and desirable means to resolve
25    claims based on securities laws).
26            Thus, all of the requirements of Rule 23(a) and (b) are satisfied and the Court
27

                                                   20
     Case 2:20-cv-02303-CBM-MAA Document 117-1 Filed 02/18/22 Page 27 of 29 Page ID
                                       #:2327



 1    should certify the proposed Class for settlement purposes and appoint Lead Plaintiffs
 2    as the class representatives.
 3    VIII. THE COURT SHOULD APPROVE LEAD COUNSEL’S SELECTION
 4
            OF CLAIMS ADMINISTRATOR
            Co-Lead Counsel retained the Claims Administrator, Strategic Claims
 5
      Services, to provide: (i) notice of the proposed Settlement to investors who make up
 6
      the Settlement Class; and (ii) the administration of the claims process. Strategic
 7
      Claims Services has administered the prior Tompkins Settlement in a highly cost-
 8
      effective manner, and was the only firm that provided a bid sufficiently low to allow
 9
      this distribution to be viably distributed to Settlement Class Members as opposed to
10
      reserved for future distribution in combination with other settlements, if achieved.
11
      Co-Lead Counsel also considered certain fixed costs associated with the
12
      administration of the settlement, such as the construction and maintenance of the
13
      settlement webpage and the use of postcards for notice as opposed to a multi-page
14
      mailer. Id.
15
      IX.    CONCLUSION
16
            The Court should enter the Proposed Order preliminarily approving partial
17
      settlement and providing for notice, which will: (i) preliminarily approve the partial
18
      Settlement; (ii) certify the Class for settlement purposes; (iii) approve the form and
19
      manner of giving notice of the Settlement to the Settlement Class; and (iv) set a
20
      Settlement Hearing date and time to consider final approval of the partial Settlement
21
      and related matters and establish a schedule for various deadlines in connection with
22
      the Settlement.
23
      Dated: February 18, 2022               Respectfully submitted,
24
                                             POMERANTZ LLP
25

26                                          By: /s/ Joshua B. Silverman
                                                Joshua B. Silverman (pro hac vice)
27                                              10 South La Salle Street, Suite 3505

                                                 21
     Case 2:20-cv-02303-CBM-MAA Document 117-1 Filed 02/18/22 Page 28 of 29 Page ID
                                       #:2328



                                             Chicago, Illinois 60603
 1                                           Telephone: (312) 377-1181
 2                                           Facsimile: (312) 377-1184
                                             jbsilverman@pomlaw.com
 3
                                         THE ROSEN LAW FIRM, P.A.
 4

 5
                                              Laurence M. Rosen (SBN 219683)
                                              355 South Grand Avenue, Suite 2450
 6                                            Los Angeles, California 90071
                                              Telephone: (213) 785-2610
 7                                            Facsimile: (213) 226-4684
                                              Email: lrosen@rosenlegal.com
 8
 9                                            Nicholas Manningham (pro hac vice)
                                              275 Madison Avenue, 40th Floor
10                                            New York, New York 10016
                                              Telephone: (212) 686-1060
11                                            Facsimile: (212) 202-3827
12
                                              Email: nmanningham@rosenlegal.com

13                                               Counsel for Lead Plaintiffs
14

15

16

17

18

19

20

21

22

23

24

25

26

27

                                            22
     Case 2:20-cv-02303-CBM-MAA Document 117-1 Filed 02/18/22 Page 29 of 29 Page ID
                                       #:2329



 1

 2                  PROOF OF SERVICE BY ELECTRONIC POSTING
 3          I, the undersigned say:
 4          I am not a party to the above case and am over eighteen years old. On February
 5    18, 2022, I served true and correct copies of the foregoing document, by posting the
 6    document electronically to the ECF website of the United States District Court for
 7    the Central District of California, for receipt electronically by the parties listed on
 8    the Court’s Service List. I affirm under penalty of perjury under the laws of the
 9    United States of America that the foregoing is true and correct. Executed on this
10    February 18, 2022 at Chicago, Illinois.
11
                                                       /s/ Joshua B. Silverman
12
                                                       Joshua B. Silverman
13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

                                                  23
